                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                   UNITED STATES DISTRICT COURT
                                                                        February 20, 2025
                                                                        Nathan Ochsner, Clerk
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

John Allen, Jr., et al.,                 §
            Plaintiffs,                  §
                                         §
v.                                       §         Civil Action H-18-171
                                         §
Justin Thomas Hays, et al.,              §
           Defendants.                   §


                                     ORDER

           On November 6, 2024, the court held a hearing and ordered
     the parties to file a joint status report. ECF No. 254. The parties failed
     to file any such report. Defendant objected to the order and re-urged
     the court to dismiss the case as a sanction. ECF No. 259. Instead of
     complying with the court’s order, the parties appear to be engaged in
     further discovery and filings. See ECF No. 267.
           Discovery and all other activity is hereby STAYED. The court will
     take the pending motion and objection under advisement and will set
     further deadlines as necessary once a ruling has been issued.



                    Signed at Houston, Texas, on February 20, 2025.




                                             _____________________________
                                                       Peter Bray
                                             United States Magistrate Judge
